     2:14-cv-13749-PDB-MKM           Doc # 30     Filed 07/18/16    Pg 1 of 1    Pg ID 175



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

BRIANNA JEFFERSON,

               Plaintiff,
                                                            Case No. 14-13749
v.
                                                            Paul D. Borman
                                                            United States District Judge
UNITED CAR COMPANY, INC.,

            Defendant.
_____________________________/

                                          JUDGMENT

       For the reasons stated in the Opinion and Order Granting Plaintiff’s Motion for Entry of

Default Judgment issued on today's date, it is ordered and adjudged that Plaintiff’s Motion for

Entry of Default Judgment is GRANTED, the attached Retail Installment Contract and Security

Interest is RESCINDED, and Plaintiff is AWARDED damages, attorney’s fees and costs in the

total amount of $7,608.50.



                                             s/Paul D. Borman
                                             PAUL D. BORMAN
                                             UNITED STATES DISTRICT JUDGE

Dated: July 18, 2016

                                 CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served upon each attorney or
party of record herein by electronic means or first class U.S. mail on July 18, 2016.


                                             s/Deborah Tofil
                                             Case Manager
